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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

In re:                                                         CASE NO: 18-25418-JKO
                                                               CHAPTER 13
PATRICK J. LOUIS,

      Debtor.
___________________________________/

               PENNYMAC CORP.'S MOTION FOR COURT APPROVAL
              TO RELEASE EXCESS INSURANCE PROCEEDS TO DEBTOR

         PennyMac Corp. ("Secured Creditor"), by and through its undersigned counsel, files this

Motion for Court Approval to Release Excess Insurance Proceeds to Debtor, and in support

thereof states as follows:

         1.     On December 11, 2018, Patrick J. Louis (the “Debtor”) filed a voluntary petition

pursuant to Chapter 13 of the Bankruptcy Code.

         2.     Secured Creditor holds a security interest in the Debtor's real property

located at 11037 Northwest 46th Drive, Coral Springs, FL 33076 (the “Property”), by

virtue of a Mortgage which is recorded in Official Records Book 40249, at Page 1337, of

the Public Records of Broward County, Florida (the “Mortgage”).

         3.     Secured Credit received insurance claim funds of $30,243.15 for damage

sustained to the Property.

         4.     The repairs to the Property have now been 100% completed. The total for

the repairs was $21,000.00. All disbarments for repairs have been completed as well.

         5.     Secured Creditor holds $9,243.15 in funds and hereby seeks the Court’s

approval to allow the remaining funds to be disbursed directly to the Debtor.

         6.     No schedules or Chapter 13 Plan have been filed at this time.
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       WHEREFORE, Secured Creditor prays that this Court will enter an Order

Granting the Motion for Court Approval to Release Excess Insurance Funds to and for

such other and further relief as the Court may deem just and proper.

                                             BROCK & SCOTT, PLLC
                                             Attorney for Secured Creditor
                                             2001 Northwest 64th Street, Suite 130
                                             Fort Lauderdale, FL 33309
                                             Phone: (954) 618-6955 Ext: 4773
                                             Fax: 954-618-6954
                                             Floridabklegal@Brockandscott.com

                                             /s/ Teresa M. Hair
                                             ______________________________________
                                             TERESA M. HAIR, ESQUIRE
                                             Florida Bar No. 44079


       I HEREBY CERTIFY that a true copy hereof has been served electronically or via U.S.

mail, first-class postage prepaid, to: Patrick J. Louis, 4725 NW 5 St., Plantation, FL 33317;

Lloyd A Baron, 10100 West Sample Road, Suite 407, Coral Springs, FL 33065; Robin R

Weiner, POB 559007, Fort Lauderdale, FL 33355; Office of the US Trustee, 51 S.W. 1st Ave.,

Suite 1204, Miami, FL 33130, this 31st day of December, 2018.

                                             BROCK & SCOTT, PLLC
                                             Attorney for Secured Creditor
                                             2001 Northwest 64th Street, Suite 130
                                             Fort Lauderdale, FL 33309
                                             Phone: (954) 618-6955 Ext: 4773
                                             Fax: 954-618-6954
                                             Floridabklegal@Brockandscott.com

                                             /s/ Teresa M. Hair
                                             ______________________________________
                                             TERESA M. HAIR, ESQUIRE
                                             Florida Bar No. 44079
